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                   EXHIBIT V
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *


      TO:    CAG HOLDINGS, LLC;
             Defendant.

      ON BEHALF OF: Plaintiff, Kathleen Moller

      Pursuant to commission under FRCP 30(b)(6), Plaintiff provides notice and

demands that CAG Holdings, LLC (hereinafter referred to as “CAG”) designate in

writing the matters on which such persons will testify and produce for deposition

one or more officers, directors, managing agents and/or other persons who consent

to testify on CAG’s behalf as to the following matters known or reasonably available

to CAG, via remote deposition on December 4, 2024 at 9:30AM EST before an official
court reporter and videographer, and to be continued thereafter until conclusion as
necessary. Please designate such persons by completing and mailing or delivering a

copy of this subpoena to the undersigned in advance of the deposition.

      In this discovery, term “affiliate” refers to any organizations, individual

persons, or business concerns with any shared management or ownership with CAG;

doing business as or for CAG; predecessors or successors of CAG, owning CAG;

and/or controlling or controlled by CAG. The term “person” refers to any human as

well as natural and legal entities.
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   Plaintiff requests examination on the following matters:

   1.   The quality, quantity, and nature of all contacts between CAG and its

        affiliates with and within the state of Louisiana.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   2.   The relationship of CAG and its affiliates to OPMS kratom products.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   3.   The relationship of CAG and any other named defendant.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   4.   The identity of any person(s) who have done business on behalf of CAG

        within Louisiana, and the nature of such business.
                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   5.   The timeframes that CAG (and any of its affiliates) received income or

        payments related to the design, development, manufacturing, marketing,

        licensing, and/or sale of OPMS branded kratom sold in interstate
        commerce and Louisiana specifically.
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                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   6.   The nature and extent of CAG’s affiliation with businesses and entities

        that have developed, manufactured, marketed, licensed, and/or sold

        OPMS branded kratom in interstate commerce and Louisiana specifically.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   7.   CAG’s receipt if any, of income or payments arising from the development,

        marketing, licensing, and/or sale of OPMS kratom.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   8.   CAG’s business operations and practices related to any kratom products

        in the five years preceding Harmony Moller’s death.
                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   9.   The relationship and activities of Mark Jennings on behalf of CAG.

                         a. Person Designated:

                                i. /s/
                         b. Office or title:
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                                 i. /s/

   10. The relationship and activities of Peyton Palaio on behalf of CAG.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   11. CAG’s confirmation, correction, or other knowledge of the distribution

       chain for OPMS products described in the Tampa Bay Times “Deadly

       Dose”     series    of     articles,     which      can     be    found     at:

       https://project.tampabay.com/investigations/deadly-dose/kratom-

       industry/.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   12. CAG’s affiliation with, involvement with, or business done with the

       unincorporated entity known as Olistica Life Sciences Group (see:

       https://www.olisticagroup.com/)

                          a. Person Designated:
                                 i. /s/

                          b. Office or title:

                                 i. /s/

   13. The corporate structure of CAG and identity of its members, managers,

       owners, and operators.

                          a. Person Designated:

                                 i. /s/
                          b. Office or title:
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                                 i. /s/

   14. The business operations of CAG including the nature of the products and

       brands that are the subject of those operations, and who or what has been

       responsible for the ownership, management, control, and accounting for

       CAG and its brands for the five years preceding Harmony Moller’s death.

       NOTE: This topic would extend to the relationship to Companion AG’s

       business operations involving: (1) “business management services for

       therapeutic plant farm processing operations, namely, cannabis in the

       nature of hemp, kava, and kratom plant processing”; (2) “[s]cientific

       research consultation services in the field of therapeutic plant production,

       namely … kratom plant production”; and (3) agricultural co-op services,

       namely … providing agricultural consultation services in the field of

       therapeutic plant production … and kratom plant production …”.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   15. The defendant’s affiliation (past or present) with any individual or entity

       involved with the stream of commerce of WHOLE HERBS, OPMS, and
       REMARKABLE HERBS branded kratom on an interstate basis, or into

       Louisiana specifically.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   16. The defendant’s commonality of ownership with any individual or entity
       involved with the stream of commerce of WHOLE HERBS, OPMS, and
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       REMARKABLE HERBS branded kratom on an interstate basis, or into

       Louisiana specifically.

                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/

   17. The defendant’s exchange or intermingling of directors, officers, or

       employees (past or present) with each party involved with the stream of

       commerce of WHOLE HERBS, OPMS, and REMARKABLE HERBS

       branded kratom that is sold on an interstate basis, or into Louisiana

       specifically.

                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/




                                    Respectfully submitted,

                                    By: /s/Michael Cowgill
                                       Michael J. Cowgill (FL Bar # 1010945)
                                       Admitted pro hac vice
                                       Tamara J. Spires (FL Bar #127625)
                                       Admitted pro hac vice
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                                       Sarasota, Florida 34236
                                       mcowgill@mctlaw.com
                                       tspires@mctlaw.com

                                          -and-

                                          NELSON W. WAGAR, III (No. 13136)
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                                            SARAH WAGAR HICKMAN (No.
                                            35823)
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                                            Telephone (985) 888-8740
                                            shickman@wagarhickman.com
                                            cwagar@wagarhickman.com

                                            Attorneys     for   Plaintiff,   Kathleen
                                            Moller



                           CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 3rd day of December, 2024 served a copy

of the foregoing pleading on counsel for all parties to this proceeding via electronic

mail, facsimile, and/or by U.S. mail, properly addressed with first-class postage

prepaid.



                                            /s/ Michael Cowgill
                                            Michael J. Cowgill
